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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
AMERICAN CIVIL LIBERTIES UNION )
FOUNDATION, INC.,                    )
AMERICAN CIVIL LIBERTIES UNION )
AND                                  )
NATIONAL CONSUMER LAW CENTER )
                                     )
      Plaintiffs,                    )
                                     )
      v.                             )  Civil Action No.: 16-10613-ADB
                                     )
                                     )
UNITED STATES DEPARTMENT OF          )
EDUCATION                            )
                                     )
      Defendant.                     )
____________________________________)


MOTION FOR ENLARGEMENT OF TIME AND MOTION TO STAY PROCEEDINGS
                    ON ATTORNEY’S FEES

       Pursuant to Federal Rules of Civil Procedure 54(d)(2) and 6(b)(1)(B), Plaintiffs move this

Court to stay proceedings on attorney’s fees during the pendency of the appeal of this Court’s

March 30, 2018 Memorandum and Order, ECF No. 73. Plaintiffs so move although this motion

is filed more than the 14 days after entry of judgment provided for by Rule 54(d)(2)(B)(i). In

support of their motion, Plaintiffs state as follows:

       1.       The Memorandum and Order on the parties’ cross-motions for summary

judgment, ECF No. 73, on March 30, 2018, granted Plaintiffs’ motion in part, granted the

Department of Education’s (ED’s) motion in part, and denied both motions with respect to one

issue. It also ordered ED to produce the documents it had withheld pursuant to Exemption 7. At

the time, the Court did not enter judgment on any of these issues.


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       2.       Nonetheless, on May 25, 2018, ED filed a Notice of Appeal “with regard to the

Court’s decision to grant Plaintiffs’ summary judgment, as it requires Defendant to

‘produce…documents.’” ECF No. 75. Shortly thereafter, on June 1, Plaintiffs filed a status report

with this Court withdrawing its remaining objections to the Exemption 5 issue remaining before

it and asking this Court to enter judgment. ECF No. 79.

       3.       A mediation was scheduled in the First Circuit for July 18. On July 16, Plaintiffs

were drafting and revising their mediation statement when they received notification that this

Court had entered judgment. ECF No. 80.

       4.       As a result, per Rule 54(d)(2)(B)(i), Plaintiffs’ motion for attorney’s fees was due

14 days later, on July 31, 2018, as was this motion to stay proceedings on attorney’s fees.

However, Rule 6(b)(1)(B) provides that the Court may, on motion, extend the time for good

cause “if the party failed to act because of excusable neglect.” Excusable neglect may extend to

“inadvertent delays,” making “excusable neglect under Rule 6(b) [ ] a somewhat elastic

concept.” Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P’ship, 507 U.S. 380, 392 (1993)

(citations and internal marks omitted). Additionally, Rule 54(b) itself provides that a court order

may extend the time for the filing of a motion for attorney’s fees.

       5.       Here, judgment was entered separately from, and later than, the Court’s summary

judgment decision and ED’s Notice of Appeal. On the date judgment was entered, Plaintiffs were

engaged in mediation conversations in the Court of Appeals. The following day, on July 17, the

mediator cancelled the scheduled July 18 mediation because ED had not provided him with

unredacted copies of many of the documents at issue. A second mediation was scheduled for

August 30 but was cancelled on August 29 for the same reason.




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       6.       Because the Notice of Appeal had been filed, and proceedings in the Court of

Appeals had begun, long before entry of judgment in the District Court, the posture of this case

was unusual. As a result of their focus on the ongoing settlement proceedings in the First Circuit,

Plaintiffs neglected to timely file a motion to stay fee proceedings in the District Court. Plaintiffs

filed this motion promptly upon realizing the error.

       7.       No prejudice has resulted to ED from the delay of just over a month. The posture

of the case is no different today than it was on July 31. In fact, on August 24, ED filed a motion

seeking to extend the August 28 deadline for its opening appellate brief by 60 days because the

Solicitor General had not yet authorized the appeal in this case.

       8.       Moreover, the attorney’s fees issue likely would not have been resolved while the

appeal, which could alter which party has prevailed, is pending. See Fed. R. Civ. P. 54(d)

advisory committee’s note to 1993 amendments (“If an appeal on the merits of the case is taken,

the court may rule on the claim for fees, may defer its ruling on the motion, or may deny the

motion without prejudice, directing under subdivision (d)(2)(B) a new period for filing after the

appeal has been resolved.”).



       Wherefore, Plaintiffs respectfully request that this Court enter an order staying further

proceedings on attorney’s fees and directing that any motion for attorney’s fees be filed within

thirty days of a mandate issuing from the Court of Appeals.




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Dated: September 7, 2018

                                               Respectfully submitted,



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                            LOCAL RULE 7.1 CERTIFICATION

       The undersigned counsel asserts that she has conferred with the Defendant regarding this
Motion in an attempt to narrow the issues, but the Defendant had not yet formulated a position at
the time of filing.


                                                     /s/ Rachel E. Goodman
                                                     Rachel E. Goodman
                                                     Attorney for Plaintiffs


                                CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.


                                                     /s/ Rachel E. Goodman
                                                     Rachel E. Goodman
                                                     Attorney for Plaintiffs

Dated: September 7, 2018




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